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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                                                      .
John Doe Growers 1-7, and                                   C.A. No.
John Doe B Pool Grower 1
on behalf of Themselves                                     Date: October 27, 2012
and all others similarly situated
as a class
                    Plaintiffs,
            v.

Ocean Spray Cranberries, Inc.,
An agricultural cooperative.

                          Defendant.

                          CLASS ACTION COMPLAINT
   Plaintiffs, through their attorneys, bring this civil action on behalf of themselves and all

others similarly situated, for damages, injunctions and declaratory relief under the antitrust laws

of the United States, Agricultural laws of the United States, the antitrust laws of the

Commonwealth of Massachusetts and the Federal Rules of Civil Procedure.

                                   INTRODUCTION

   This case arises out of actions by Defendant illegally to discriminate against its own

members in the sale of cranberry products as well as to fix the price of cranberry juice

concentrate at constantly lower prices, for the purpose of stopping its grower members from

leaving it in order to get more money for their crop and to cause independent growers to become

members because Defendant constantly needs more cranberries to supply the constantly greater
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demand for its products; and with the effect of greatly reducing the market price of

independently grown cranberries, and its B pool of cranberries, all causing great losses to the

Plaintiff classes.

                              JURISDICTION AND VENUE

(1) This court has subject matter jurisdiction over this case under 28 U.S.C. 1331 (General

Federal Question) which arises out of violations by defendant of 15 U.S.C. Sec. 1 & 2,

commonly known as the Sherman Anti-trust Act, an Order of this court in Case Number

55-418-3, of 7 U.S.C. 291, commonly known as the Capper-Volstead Act, and under Federal

Rule of Civil Procedure 71 (Enforcement of a court Order by a non-party).

(2) This court has personal jurisdiction over all of the parties under 28 U.S.C. 1332 (Diversity

of Citizenship) (Aggregated amount in controversy exceeds $5,000,000.00). Diversity exists

between the entire plaintiff class and defendant.

(3) This court has pendent jurisdiction over the state law claims arising under Massachusetts

General Laws, Chapter 93A because the actions complained of herein all originated at

Defendant’s corporate headquarters in Lakeville/Middleborough, Massachusetts.

                                      THE PARTIES

(4) John Doe Growers 1-7 and the class they represent are all cranberry growers who are not

members of Defendant’s Cooperative, referred to herein as “independent growers”, located in the

states of Massachusetts, New Jersey, Wisconsin, Oregon and Washington. A few members of

the class are located in other states, but none are located in Delaware, the state of incorporation

of Defendant. None are located outside of the United States.

   John Doe B Pool Grower 1 and the Class he represents are all cranberry growers who are
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members of Defendant’s cooperative, referred to herein as “B” pool members, located in the

states of Massachusetts, New Jersey, Wisconsin, Oregon and Washington. A few members of

the Class are located in other states, but none are located in Delaware, the state of incorporation

of Defendant. None are located outside of the United States.

(5) Defendant is a Delaware corporation, with its principal place of business in

Lakeville/Middleborough, Massachusetts. Ocean Spray is an agricultural cooperative authorized

under 7 U.S.C. 291, otherwise known as the Capper-Volstead Act, which provides for a limited

exemption from the provisions of the antitrust laws of the United States that prohibit contracts,

combinations or conspiracies in restraint of trade. 15 U.S.C. 3, otherwise known as the Sherman

Antitrust Act. Without the Capper Volstead Act it would be illegal for Ocean Spray to conduct

the affairs collectively of its member growers by jointly marketing their crop. It is owned by

more than 700 cranberry growers and nearly 50 grapefruit growers. Ocean Spray is North

America’s leading producer of canned and bottled juice drinks, and has been the best-selling

brand name in the canned and bottled juice category since 1981. Ocean Spray posted fiscal 2010

sales of over $2.0 billion. Ocean Spray does business throughout the United States. Exhibit

One.

   Ocean Spray’s member growers deliver their crop to Ocean Spray and Ocean Spray markets

some as fresh cranberries and most are processed into juice, cranberry sauce, dried cranberries,

and cranberry juice concentrate. Its member growers have no say regarding the price at which

Ocean Spray sells any of said products. However, the enabling statute, the Capper Volstead Act,

mandates, “. . .That such associations are operated for the mutual benefit of the members . . .”.

Ocean Spray sells its products worldwide to businesses that either use or resell said products.
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However, it is restricted in its sale of products by a Consent Order to which it agreed in CA No.

55-418-3 issued by this court as shown below. Ocean Spray has been violating this order during

the past three years.

                         CLASS ACTION ALLEGATIONS

(6)    Based upon the nature of the trade and commerce involved, the total number of Class

members is such that joinder of the claims of all Class members would be impracticable.

(7) Plaintiff’s claims are typical of the claims of the Class, and plaintiffs will fairly and

adequately protect the interests of the Class. Plaintiffs have no relevant conflicts of interest with

other members of the Class and have retained competent counsel experienced in class action and

antitrust litigation.

(8) Common questions of law and fact exist, including:

  a. Whether Defendant has engaged in conduct which violates the Consent Order;

  b. Whether Defendant has engaged in conduct which violates 7 U.S.C. 291;

  c. Whether Defendant has engaged in conduct which violates 15 U.S.C. 1 & 2;

  d. Whether Defendant has engaged in conduct which violates M.G.L. c. 93A, Sec. 2 and 11;

  e. The existence, duration, and illegality of the conduct alleged herein.

       These and other questions of law and fact are common to the Class and predominate over

any questions that may arise affecting only individual Class members.

(9) Class action treatment is a superior method for the fair and efficient adjudication of the

controversy described herein. The class action vehicle provides an efficient method for the

enforcement of the right of Plaintiffs and Class members; and such litigation can be managed

fairly. Plaintiffs know of no unusual problems of management and notice.
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(10) Any difficulties that may exist in the management of the class action are far outweighed by

the benefits of the class action procedure, including but not limited to providing claimants with a

suitable method for the redress of their claims.

                                        FACTS

(11) In 1957 Defendant’s predecessor corporation, National Cranberry Association, agreed to a

Consent Order, attached hereto as Exhibit Two, in a case brought against it by the United States

Department of Justice in which it charged Defendant, inter alia, with monopolizing interstate

trade and commerce in cranberry products in violation of sections 1 and 2 of the Sherman

Antitrust Act (15 U.S.C. Sec. 1 and 2) and that “defendants are continuing and will continue said

offenses unless the relief hereinafter prayed for is granted.”

(12) In said Consent Order Defendant agreed that it would be enjoined and would refrain from:

       “(F)    (1) . . . receiving from any person not a member of
                   [its cooperative] for marketing any cranberries
                   except on the same terms or conditions as to
                   payment therefor as would apply if such person
                   were a member;”

and that it would be enjoined and would refrain from:

                  “(2) Discriminating among members in the administration of
                   any pooling of cranberries;”.

(13) Independent growers sell substantially all of their cranberries to processors who make

cranberry juice concentrate from them and then make cranberry juice from the concentrate in

competition with defendant.

(14) The following chart shows the average payment received by independent growers per barrel

of cranberries compared with the average amount received by Defendant’s members per barrel of

cranberries for the years 2006 to 2011. 2009 is the year Defendant set up its “auction” which is
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a violation of the provisions of the Consent Order referenced above.

                        CHART 1 (Receipts per barrel in $)

    Independent growers do not all receive the same amount for their crop. The following
figures are based on an average of receipts, per barrel, by growers. They are presented here to
show the trend in the industry as a whole. Defendant’s growers receipts per barrel come from
Ocean Spray documents. Exhibits Three, Four and Five.

       INDEPENDENT GROWERS                      DEFENDANT’S GROWERS
                 Wisconsin and
          Oregon Massachusetts                     A Pool          B Pool

2006      50.00      40.00                          47.69              32.93

2007      65.00      50.00                          54.75              68.85

2008      63.50      70.00                          60.00              52.60

2009      16.00      37.00                          64.00              26.37

2010      15.00      18.00                          63.11              18.56

2011      33.00      26.00                          60.00              28.50



                           CHART 2
      Average Price of Cranberry Juice Concentrate per gallon. Not everyone receives the
same amount. These figures are presented here to show the trend in the industry as a whole.

2006      31.74

2007      35.00

2008      53.63

2009      57.10

2010      27.26

2011      18.79

2012      24.25
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(15) During 2007 and 2008 Defendant’s President was very concerned about the greater prices

being received by independent growers compared with Defendant’s growers. Exhibit Six.

(16) During 2007 And 2008 Defendant’s President was also very concerned about Defendant’s

growers who left Defendant’s Cooperative because they could get more money for their

cranberries as independent growers. Exhibit Six.

(17) During 2007 and 2008 Defendant’s President was also greatly concerned about not having

enough cranberries to meet Defendant’s needs in the future. Exhibit Seven.

(18) Defendant devised a scheme illegally to interfere with the payments being received for their

cranberries by independent growers.

(19) Said scheme involved fixing the market price of cranberry juice concentrate sold to

processors by arranging to hold a periodic “auction” of said concentrate. Exhibit Eight.

(20) Defendant’s illegal scheme involved setting up a so called “auction” of said concentrate, at

which the users were invited to attend and bid for whatever quantity each wished to purchase.

(21) Then, before the first such “auction”, and continued for each succeeding auction, Defendant

announced that “At no stage during the process do customers bid a price”. Exhibit Nine.

(22) Ocean Spray determines, at each stage of the “auction” what the price shall be for the next

round, and it passes along to its B Pool members any loss.

(23) The helpless members of the B Pool must accept for their crop whatever Ocean Spray

decides to pay them. Chart 1.

(24) In 2011 Defendant announced that the opening bid for the next auction would be 85% of the

previous auction’s closing prices. Exhibit Ten.

(25) In fact the announcement of said “auction” was nothing other than Defendant choosing a
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price of cranberry juice concentrate and guaranteeing to sell at that price for a specified period of

time for the purpose and with the effect of fixing the market price of cranberry juice concentrate.

(26) Then in the succeeding years Defendant kept below the price at which it sold in 2009 which

can be seen in Chart 2 showing the average price at which cranberry juice concentrate was sold

from 2006 to 2012.

(27) Chart 2 shows the average payment received per barrel of cranberries by independent

growers and defendant’s growers from 2006 to 2012.

(28) By these practices Defendant took actions which had the purpose and the effect of causing

the price of cranberry juice concentrate to be so low that the above referenced processors could

not compete with those processors who purchased their concentrate from Ocean Spray unless

they were able to buy cranberries from the independent growers at a low enough price to enable

them to make cranberry juice concentrate at the same cost as Ocean Spray was selling theirs.

(29) As a result, some independent growers refused to sell their cranberries at that price. When

some of these growers found that they could no longer get paid what they expected for their

cranberries, they were enticed by Ocean Spray to join it.

(30) For some of the independent growers Defendant was the only outlet they could find to sell

their cranberries.

(31) Defendant admitted these growers as members of Ocean Spray and accepted their crop for

sale by Ocean Spray but set up a scheme to pay them much less money for their cranberries than

that which Defendant pays to its other members, in violation of its responsibilities under its

enabling legislation, the Capper-Volstead Act, 7 U.S.C. 291 the Consent Order and M.G.L. c.

93A, Sections Two and Eleven.. Exhibit Eleven.
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(32) Cranberries from Defendant’s members were considered to be in Defendant’s “A” pool.

(33) Cranberries from the previously independent growers were considered to be in Defendant’s

“B” pool. Exhibit Eleven.

(34) The payments to the growers in the “A” pool were significantly greater than the payments to

the growers in the “B” pool as shown in Chart 1.

(35) Defendant then used the cranberries in said B pool to make cranberry juice concentrate and

sell it at continually lower prices, which resulted in contributors to the B pool receiving

continually lower prices for their cranberries. Charts 1 & 2.

(36) These lower prices have forced some of the independent growers to go out of business,

thereby to cease competing with Defendant.

                                    COUNT I

                (CAPPER-VOLSTEAD ACT-B POOL MEMBERS)

(37) Paragraphs 1-36 are incorporated herein by reference as though fully set forth.

(38) The actions of Defendant described herein discriminate against those members of Defendant

whose cranberries are considered to be in the B pool in that Defendant is not operating the

Association for the mutual benefit of the B pool members who are being paid for their

cranberries less than one-half the amount Defendant has been paying to its members whose

cranberries are considered to be in it’s A pool. Chart 1.

(39) The actions of Defendant described herein are in violation of 7 U.S.C. 291 (The Capper-

Volstead Act) which authorizes the formation of agricultural cooperatives such as Ocean Spray,

                   Provided, however, that such associations are operated for the
                   mutual benefit of the members thereof . . . .

(40) Because of Defendant’s violations of its enabling act during the past four years, Defendants
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cannot be considered to have been engaged legally in the operation of an agricultural

cooperative during the period of time in which it failed to administer the cooperative for the

mutual benefit of its B pool members.

     WHEREFORE, Plaintiffs ask this court to declare that all actions of Defendant during the

period of time that it failed to administer the cooperative for the mutual benefit of its B pool

members are not protected by, and constitute violations of, the provisions of 7 U.S.C. 291 (the

Capper-Volstead Act); to issue an injunction to prohibit such violations in the future; and to

award damages in the amount of $120,000,000.00 , together with interest, costs and attorney’s

fees and such other relief as the court shall deem just and proper in the circumstances.

                                       COUNT II

                (M.G.L. c.93A Sec. 11 B POOL MEMBERS)

(41) Paragraphs 1-40 are incorporated herein by reference as though fully set forth.

(42) Defendant’s scheme to accept new growers into its cooperative and to dump their

cranberries at prices so low that said growers do not receive, at most, even half of what other

Ocean Spray growers receive, despite having signed contracts that are required by law to be “for

the mutual benefit of the members . . . .” is inherently unfair and deceptive and clearly a violation

of M.G.L. c. 93A, Sec. 11.

   WHEREFORE, Plaintiff asks the court to find that such actions by defendant constitute unfair

and deceptive practices in violation of M.G.L. c. 93A, Sec. 11. Plaintiff class demand damages

in the amount of $120,000,000.00 tripled in accordance with the provisions of M.G.L. c. 93A,

Sec.2 and 11, together with an injunction to prohibit such actions in the future, plus interest,

costs, attorneys’ fees and such other relief as the court deems just and proper in the
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circumstances.

                                   COUNT III

                   (CONSENT ORDER B POOL MEMBERS)

(43) Paragraphs 1-42 are incorporated herein by reference as though fully set forth herein.

(44) Some members of the class joined the B pool of Ocean Spray.

(45) All of said members were discriminated against by Ocean Spray in that Ocean Spray paid

them substantially less for their cranberries than it paid to members whose cranberries were

considered to be in the A pool. Chart 1.

(46) Said payments by Ocean Spray are in violation of the Consent Order set forth in paragraph

(6) above and attached hereto as Exhibit Two.

(47) The actions cited herein by Defendant constitute price-fixing; continually selling cranberry

juice concentrate at prices that do not return to its B Pool members enough to cover its members’

cost of producing the cranberries from which the concentrate is made; attempting to monopolize

and monopolizing trade in interstate commerce in violation of 15 U.S.C. Sec. 1 & 2 (The

Sherman Antitrust Act); and in violation of M.G.L c.93A, Sec. 2 and 11.

(48) Before and at the time Defendant began its scheme to fix the price of cranberry juice

concentrate, and at all times thereafter, Defendant was seeking to obtain additional cranberries

because it said that it did not have enough cranberries to meet its needs, Exhibit Seven, investing

$90 Million Dollars in new cranberry bogs. Exhibit Twelve(January 14, 2009, “We desperately

need more fruit”). See, Exhibit Thirteen “Chairman Podvin - The new cranberry acreage is

needed by the cooperative to supply growth of our business” Exhibit Thirteen, Page 2

“Retention of growers . . . and expanding acreage are the principal challenges facing us today.”
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(49) Having lost the protection of its authorizing statute, 7 U.S.C. 291 (The Capper-Volstead

Act) by its violations of said statute, defendant’s actions on behalf of its 700+ grower members

constitute contracts, combinations or conspiracies in restraint of trade, all in violation of the

Sherman Antitrust Act, 15 U.S.C. 1 and 2.

(50) The “B” Pool contract was entered into by the formerly independent growers in good faith.

They have honored their responsibilities under said contract, but, nowhere in said contract is

there any language which permits Ocean Spray to sell the crop of said growers at prices that are

clearly not in the mutual interest of said growers. Ocean Spray has failed in its obligation under

said contract to fulfill its obligation of good faith and fair dealing and which is inherently unfair

and deceptive in violation of M.G.L. c.93A, Section 11.

   WHEREFORE, plaintiffs demand damages in the amount of $120,000,000.00 trebled in

accordance with the provisions of M.G.L. c. 93A, Sec. 11, together with interest, costs,

attorney’s fees, and an injunction to prohibit said violations by Ocean Spray in the future, plus

such other relief as the court shall deem just and proper in the circumstances.

                                     COUNT IV

                (ALL STATUTES INDEPENDENT GROWERS)

(51) Paragraphs 1-50 are incorporated herein by reference as though fully set forth herein.

(52) The remaining members of the class are all independent growers who have been the victims

of Ocean Spray’s illegal price fixing of cranberry juice concentrate.

(53) All of said members have lost a great amount of money as a result of said price fixing by

Ocean Spray, as shown in Charts 1 & 2.

(54) The actions cited herein by Defendant constitute price-fixing; attempting to monopolize
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          and monopolizing trade in interstate commerce in violation of 15 U.S.C. Sec. 1 & 2 (The

          Sherman Antitrust Act) and in violation of M.G.L. c. 93A, Sec. 11.

              WHEREFORE, plaintiffs demand damages in the amount of $500,000,000.00

         trebled in accordance with the provisions of M.G.L. c. 93A, Sec. 11 and the Sherman Antitrust

         Act, 15 U.S.C. Sec. 1 & 2, together with interest, costs, attorney’s fees and an injunction to

         prevent Ocean Spray from engaging in such actions in the future plus such other relief as the court

         shall deem just and proper in the circumstances.

                                                    COUNT V

                                    (CONSENT ORDER-ENTIRE CLASS)

        (55) Paragraphs 1-54 are incorporated herein by reference as though fully set forth.

e       (56) Defendant agreed in the Consent Order that it would be enjoined and would be restrained

          from

                               (D) Contracting for or otherwise arranging for
                                   the processing of any of [its] cranberries
                                   by any other processor at any time when
                                   [it] has available capacity and could process
                                   such cranberries itself without incurring
                                   substantially greater expense;

h       (57) The converting of cranberries into cranberry juice concentrate and then selling it to

          other processors for the production of cranberry juice, which is the only use for said

          concentrate, is no different in effect than Defendant selling cranberries to those processors for

          them to convert into cranberry juice concentrate and finally into cranberry juice, in violation of

          the Consent Order.

s       (58) As a result of said sales of cranberry juice concentrate to other processors Plaintiff

    class has lost a great amount of money, and Defendant admits that it “does not sell concentrate through
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the auction to unload excess supply . . . .: Exhibit Fourteen, Page 2.

      “. . .we have had . . . ten consecutive years of increasing cranberry fruit demand. . . .” Exhibit

      Fifteen.

      (59) The actions of defendant described herein constitute a violation of Section (D) of the

      Consent Order, 15 U.S.C Sec. 1 & 2 (The Sherman Act) and are unfair and deceptive in violation

      of M.G.L. c. 93A, Sec. 11.

            WHEREFORE, Plaintiffs seek an Order requiring Defendant to cease and desist from all

      such sales together with damages in the amount of $620,000,000.00 trebled in accordance with

      the provisions of M.G.L. c. 93A, Sec. 11, and 15 U.S.C. Sec. 1 & 2, together with interest, costs,

      attorney’s fees and an injunction to prevent Ocean Spray from engaging in said sales in the

      future plus such other relief as the court shall deem just and proper in the circumstances.

                                               COUNT VI

                               (ALL STATUTES ENTIRE CLASS)

      (60) Paragraphs 1-59 are incorporated herein by reference as though fully set forth.

      (61) The actions of Defendant described herein constitute unfair and deceptive acts and

      practices in violation of M.G.L. c. 93A, Sec. 11, and attempts to monopolize and monopolizing

      interstate commerce in cranberry juice in violation of 15 U.S.C. Sec. 1 & 2 (The Sherman

      Antitrust Act) as well as violations of 7 U.S.C. 291 (The Capper-Volstead Act).

      WHEREFORE Plaintiffs seek an injunction requiring Defendant to cease and desist from all

      such actions together with damages in the amount of $620,000,000.00 trebled in accordance with

      the provisions of M.G.L. c. 93A, Sec. 2 and 11 and 15 U.S.C. Sec. 1 & 2 (The Sherman Antitrust

      Act) together with interest, costs, attorney’s fees and an injunction to prevent Ocean Spray from
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   engaging in said illegal acts in the future plus such other relief as the court shall deem just and

   proper in the circumstances.

                                            COUNT VII

                               (CHAPTER 93A ENTIRE CLASS)

(62) Paragraphs 1-61 are incorporated herein by reference as though fully set forth.

(63) The actions of defendant described above in violation of its enabling act, 7 U.S.C. 291 (The

      Capper- Volstead Act); The Consent Order; 15 U.S.C. Sec.1 and 2 (The Sherman Antitrust

      Act); and Massachusetts General Laws, c. 93A, Sec. 2 and 11 all show a deliberate disregard

      for the law and for its responsibilities under it, clearly unfair and deceptive acts and practices

      which caused damages to all classes in the amount of $620,000,000.00, for which this court

      should award triple damages, interest, costs, and attorneys’ fees together with an injunction to

      prevent all of the illegal acts from being engaged in in the future, and such other relief as the

      court shall deem just and proper in the circumstances.



      /s/ Arthur R. Miller                                       /s/ Norman Jackman
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